










Opinion issued October 16, 2003



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In The
Court of Appeals
For The
First District of Texas




NO. 01-02-01332-CV




KOLL REAL ESTATE GROUP, INC., Appellant

V.

M.L.SKIPPER; SELMON A. ATKINSON; FANNIE AUTMAN, SHELLY
BROUSSARD, TIMMIE R. AUTMAN, ANTHONY E. AUTMAN, SHEILA
K. WIGGERFALL AND CARL AUTMAN, INDIVIDUALLY, AND AS
HEIRS OF THE ESTATE OF ALBERT AUTMAN; THEODORE J.
BRILHART; JESSIE BUTLER, JR.; BILLY COWEN; JEANNE
EDWARDS, INDIVIDUALLY, AND AS HEIR OF THE ESTATE OF
WILLARD EDWARDS, JR.; RICHARD A. EPPLEY; KARA FORD,
HARLEY E. FORD, RICHARD FORD, DA LORA MILLER, AND
CLINTON K. FORD, INDIVIDUALLY, AND AS HEIRS OF THE ESTATE
OF CLINTON K. FORD; WILLIAM R. GOULD; BENNIE HOLLOMAN,
JR.; LEONARD JOHNSON; ROBERT KIRKLAND; JOHNNY R.
LIMMER; LANES K. MARTIN; ROBERT SANDOVAL; LANES D.
SHANKLE; DAVID SIMPSON; AND CLARENCE WINZER, JR., Appellees




On Appeal from the 10th District Court District Court
Galveston County, Texas
Trial Court Cause No. 02-CV-0081




MEMORANDUM OPINION 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Koll Real Estate Group, Inc., filed an interlocutory appeal from the
trial court’s December 10, 2002 order, in which the trial court denied appellant’s
special appearance.  On September 16, 2003, after the record and briefs had been filed
and the case had been submitted to the Court, appellant filed a motion to dismiss the
appeal, contending that the appeal was moot because appellant had been dismissed
from the underlying suit.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court, having considered the documents on file and appellant’s motion to
dismiss the appeal, is of the opinion that the motion should be, and hereby, is,
GRANTED.
&nbsp;
&nbsp;
&nbsp;
&nbsp;
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, the appeal is DISMISSED as moot.  See Le v. Kilpatrick, 112
S.W.3d 631, 633-34 (Tex. App.—Tyler 2003, no pet.) (holding interlocutory appeal
from denial of special appearance rendered moot by nonsuit of appellant in
underlying case).
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sherry Radack
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Panel consists of Chief Justice Radack and Justices Alcala and Higley.
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